Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 1 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 2 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 3 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 4 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 5 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 6 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 7 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 8 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 9 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 10 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 11 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 12 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 13 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 14 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 15 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 16 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 17 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 18 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 19 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 20 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 21 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 22 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 23 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 24 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 25 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 26 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 27 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 28 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 29 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 30 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 31 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 32 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 33 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 34 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 35 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 36 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 37 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 38 of 39
Case 4:17-cv-00563-KGB Document 2 Filed 09/01/17 Page 39 of 39
